        Case 1:04-cv-01366-FMA Document 104 Filed 12/19/08 Page 1 of 1




      In The United States Court of Federal Claims
                                          No. 04-1366C

                                   (Filed: December 19, 2008)
                                           __________
 SPECTRUM SCIENCES & SOFTWARE, INC.,

                             Plaintiff,

        v.

 THE UNITED STATES,

                             Defendant.
                                            _________

                                            ORDER
                                           __________

        On December 12, 2008, the parties filed a joint status report proposing a schedule
for discovery on damages. Based on its review of that report, the court concludes:

       (i)     On or before February 27, 2009, plaintiff shall identify any
               quantum expert and produce his or her report;

       (ii)    On or before March 31, 2009, defendant shall identify any rebuttal
               expert and produce his or her report;

       (iii)   On or before April 30, 2009, all expert discovery shall be
               completed; and

       (iv)    On or before May 15, 2009, the parties shall file a joint status
               report on how this case should proceed, with a schedule, as
               appropriate.

       IT IS SO ORDERED.



                                                             s/ Francis M. Allegra
                                                             Francis M. Allegra
                                                             Judge
